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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Civil Action No.:

MORDHORST CLEANING, LLC D/B/A BLUE RIBBON
EXTERIORS & CONSTRUCTION, A Colorado Limited
Liability Corporation.

       Plaintiff,

v.

ALLSTATE INSURANCE COMPANY

       Defendant.


                                    NOTICE OF REMOVAL


        Defendant, Allstate Insurance Company (“Allstate”), through its attorneys, Tucker

 Holmes, P.C., pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, hereby submits the following

 Notice of Removal to the United States District Court for the District of Colorado. In support

 thereof, Defendant states as follows:

        1.      Defendant Allstate is a named defendant in Civil Action No. 2021CV32163,

 captioned Mordhorst Cleaning, LLC d/b/a Blue Ribbon Exteriors & Construction v. Allstate

 Insurance Company, in Denver County District Court (the “State Court Action”). Plaintiffs

 filed a Complaint and Jury Demand in the State Court Action with the Clerk of the District

 Court of Denver County, Colorado on July 8, 2021. (See, Complaint, attached hereto as

 Exhibit A.)

        2.      Plaintiff served a Summons and Complaint on the Defendant through its agent

 CT Corporation on July 9, 2021. (See, Return of Service, attached hereto as Exhibit B.)

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Copies of the Summons and Civil Case Cover Sheet served on Defendant are attached hereto as

Exhibit C and Exhibit D.

        3.      This Notice of Removal is filed with this Court within thirty (30) days after the

Plaintiff’s Complaint was served on Defendant setting forth the claims for relief upon which

Plaintiff’s action is based.

        4.      This Court has jurisdiction over this action under 28 U.S.C. §1332, and this

action is removable under 28 U.S.C. §1441(b) because this is a civil action between citizens of

different states and the matter in controversy exceeds the sum of $75,000, exclusive of interest

and costs.

        5.      Plaintiff is a Limited Liability Company organized under the laws of the state of

Colorado. (See Exhibit E, Articles of Organization of Mordhorst Cleaning, LLC) The Articles

of Organization identify its LLC member as Richard W. Mordhorst.

        6.      At all relevant times, Defendant Allstate Insurance Company was a foreign

corporation, incorporated in, and with its principal place of business in the State of Illinois.

(Exhibit A, ¶ 2 and Exhibit F, Colorado Secretary of State Certificate of Fact of Existence.)

Allstate Insurance Company is now and was at all relevant times a citizen of the State of Illinois

for purposes of diversity jurisdiction.

        7.      The underlying event for Plaintiff’s claim against Defendant is a hailstorm that is

alleged to have damaged property located at 2631 Cottonwood Drive, Denver, CO 80221.

(Exhibit A, ¶¶ 9, 15) Plaintiff alleges that the storm caused significant damage to the Property.

(Exhibit A, ¶ 17)

        8.      Plaintiff alleges that Defendant has acted in bad faith with regard to Plaintiff’s

claim. (Exhibit A, ¶ 54)
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       9.      Plaintiff brings claims against Defendant for (1) Breach of Contract, (2) Statutory

Bad Faith under C.R.S. 10-3-1115 and 10-3-1116, and (3) Common Law Bad Faith.

       10.     Plaintiff alleges that Allstate failed to compensate Plaintiff for the full costs to

repair the damages to the Property due to a covered loss. (Exhibit A, ¶ 46) Plaintiff further

asserts that Allstate has denied and delayed payment of benefits to Plaintiff without a reasonable

basis. (Exhibit A, ¶ 49)

       11.     When the complaint itself does not set forth the amount of damages, the

defendant must establish the amount in controversy by a preponderance of the evidence. WBS

Connect, LLC v. One Step Consulting, Inc. L 4268971, 2 -3 (D.Colo. 2007). Defendants must set

forth in the notice of removal the underlying facts that demonstrate that the amount in
                                                                                     th
controversy is greater than $75,000. Laughlin v. Kmart Corp., 50 F.3d 871, 873 (10 Cir. 1995).

       12.     Besides the Complaint, there is other documentation a defendant may rely on for

the basis of jurisdiction. McPhail v. Deere & Co., 529 F.3d 947, 956 (10th Cir. 2008).

       13.     Plaintiff’s civil cover sheet filed in state court confirms that the amount in

controversy exceeds $75,000, exclusive of interest and costs. Plaintiff indicates that it seeks a

monetary judgment of “more than $100,000”, excluding attorney fees, interest, and costs. (See

Exhibit D) Plaintiff’s representation on its civil cover sheet establishes for the purposes of

federal diversity jurisdiction that Plaintiff seeks in excess of $75,000 in disputed damages,

exclusive of interest and costs. See Paros Props. LLC v. Colo. Cas. Ins. Co., 835 F.3d 1264,

1272-73 (10th Cir. 2016) (noting that state court civil cover sheet unambiguously indicated the

amount in controversy was more than $100,000 and that there was “no reason not to credit an

assertion by an officer of the court on a matter of significant

       14.     The Complaint’s request for an award of attorney fees under C.R.S. § 10-3-1116

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alone in a case involving relief of this nature places the amount in controversy over the $75,000

threshold. (See Exhibit A, ¶ 51.) “[W]hen a statute permits recovery of attorney’s fees a

reasonable estimate may be used in calculating the necessary jurisdictional amount in a removal

proceeding based upon diversity of citizenship.” Miera v. Dairyland Ins. Co., 143 F.3d 1337,

1340 (10th Cir. 1998); See also, Jones v. American Bankers Ins. Co. of Florida, 2011 WL

2493748, *4 (D.Colo. 2011). Although the fees cannot be calculated with certainty at this

juncture, it is undisputed that substantial attorneys’ fees will be incurred in this matter. See also,

e.g., Order Re: Plaintiff’s Motion for Entry of Final Judgment with Attorney Fees and Costs,

Cronan v. American Family Insurance (Arapahoe Cty. Dist. Ct., Case No. 2015CV32192, Mar.

2, 2017) (awarding $151,177.50 in attorney fees under C.R.S. § 10-3-1116, in a case involving

property damage to a home).

        15.     Once the facts have been established, uncertainty about whether the plaintiff can

prove its substantive claim, and whether damages (if the plaintiff prevails on the merits) will

exceed the threshold, does not justify dismissal. Only if it is ‘legally certain’ that the recovery

(from plaintiff’s perspective) or cost of complying with the judgment (from defendants) will be

less than the jurisdictional floor, may the case be dismissed. McPhail v. Deere & Co., 529 F.3d

947, 955 (10th Cir. 2008) (quoting Meridian Security Ins. Co. v. Sadowski, 441 F.3d 536, 540-43

(7th Cir. 2006)).

        16.     In light of the foregoing, the amount in controversy exceeds $75,000, exclusive

of interests and costs.

        17.     Defendant disputes that it owes the alleged damages to the extent claimed by

Plaintiff, and disputes that it owes any amount for damages pursuant to C.R.S. §10-3-1116.

        18.     No waiver, and no admission of fact, law, or liability, including, without

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    limitation, the amount of damages, if any, is intended by this Notice of Removal, and all

    defenses, affirmative defenses, and rights are hereby reserved.

            19.     Pursuant to 28 U.S.C. § 1332, this Court “shall have original jurisdiction of all

    civil actions where the matter in controversy exceeds the sum or value of $75,000, exclusive of

    interest, and is between citizens of different states.”

            20.     Further, 28 U.S.C. § 1332(c)(1) provides that “a corporation shall be deemed to

    be a citizen of any State by which it has been incorporated and of the state where it has its

    principal place of business . . .”

            21.     Jurisdiction of this Court is properly based on diversity of citizenship pursuant to

    28 U.S.C. § 1332, as there is no forum defendant who has been properly joined and properly

    served and the parties are residents of different states. Plaintiff is a Colorado entity and Allstate

    Insurance Company is incorporated in Illinois with its principal place of business in Illinois.

            22.     Pursuant to D.C.Colo.LCIVR 81.1, the undersigned certifies that as of the date of

    this filing, no hearing has been set in the State Court case.

           23.      Pursuant to 28 U.S.C. § 1446(d) and D.C.Colo.LCIVR 81.1, this Notice of

    Removal has been sent to all other parties in this action and has been filed with the State Court

    clerk’s office. Pursuant to 28 U.S.C. § 1446(a), “all process, pleadings, and orders” are attached

    hereto. (See Delay Reduction Order attached as Exhibit G.)

           WHEREFORE, Defendant requests that the above-entitled action be removed from the

    Denver County District Court to the United States District Court of Colorado.


           DATED: July 30, 20211



1
 Under Local Rule 5.1(d), the Notice of Electronic Filing “generated by CM/ECF constitutes a certificate of service.”
For that reason, no separate certificate of service is attached here.
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                                          Attorneys for Defendant



                                CERTIFICATE OF SERVICE

        I hereby certify that on July 30, 2021, I electronically filed the foregoing NOTICE OF
REMOVAL with the Clerk of Court using the CM/ECF system which will send notification of
such filing to the following e-mail addresses:

David W. Hannum
Jon M. Topolewslci
Robinson & Henry, PC
1975 Research Parkway, Suite 100
Colorado Springs, CO 80920


                                           s/ Karin Lewis
                                          Karin Lewis, Legal Assistant




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